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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   MATTHEW C. BOCKMON, Bar # 161566
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     STACEY MISTLER
 6
 7
                                   IN THE UNITED STATES DISTRICT COURT
 8
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                        )   CASE NO. CR. S-13-165 TLN
11                                                    )
                            Plaintiff,                )   STIPULATION AND ORDER VACATING
12                                                    )   STATUS CONFERENCE SETTING STATUS
             v.                                       )   CONFERENCE AND EXCLUDING TIME
13                                                    )
     STACEY MISTLER and CHARLES                       )   Date : September 12, 2013
14   CONNOR,                                          )   Time: 9:30 a.m.
                                                      )   Judge: Troy L. Nunley
15                          Defendants.               )
                                                      )
16   _____________________________________
17          The United States of America, by and through Olusere Olowoyeye, Assistant United States
18   Attorney, together with the defendant, Stacey Mistler, through Matthew C. Bockmon, Assistant Federal
19   Defender and defendant, Charles Connor, through his counsel, Linda Parisi, agree to vacate the status
20   conference date of August 1, 2013 and set the status conference for September 12, 2013 at 9:30 a.m. for the
21   following reason:
22          The reasons for this request is to allow defense counsel to review discovery, for defense preparation
23   and for meetings between the parties with the goal being to resolve the case by way of a disposition.
24          The parties agree that the Court should exclude time from computation under the Speedy Trial Act,
25   pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, due to the need to provide defense counsel
26   with the reasonable time to prepare, and that the ends of justice to be served by granting the continuance
27   outweigh the best interests of the public and the defendant in a speedy trial. The exclusion of time is from
28   July 29, 2013 until September 12, 2013.
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 1   Dated: July 29, 2013
 2                                                          Respectfully submitted,
 3                                                          HEATHER E. WILLIAMS
                                                            Federal Defender
 4
                                                             /s/ Matthew C. Bockmon
 5                                                          MATTHEW C. BOCKMON
                                                            Assistant Federal Defender
 6                                                          Attorney for Defendant
                                                            STACEY MISTLER
 7
     Dated: July 29, 2013
 8
                                                             /s/ Matthew C. Bockmon for
 9                                                          LINDA PARISI
                                                            Attorney for Defendant
10                                                          CHARLES CONNOR
11   Dated: July 29, 2013                                   BENJAMIN B. WAGNER
                                                            United States Attorney
12
                                                             /s/ Matthew C. Bockmon for
13                                                          OLUSERE OLOWOYEYE
                                                            Assistant U.S. Attorney
14                                                          Attorney for Plaintiff
15                                                  ORDER
16            Based on the reasons set forth in the stipulation of the parties filed on July 30, 2013, and good cause
17   appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS HEREBY ORDERED
18   that the status conference currently set for Thursday, August 1, 2013, be vacated and that a status conference
19   be set for Thursday, September 12, 2013, at 9:30 a.m. The Court finds that the ends of justice to be served
20   by granting a continuance outweigh the best interests of the public and the defendants in a speedy trial.
21   Accordingly, IT IS HEREBY ORDERED that, for the reasons stated in the parties’ July 30, 2013 stipulation,
22   the time within which the trial of this matter must be commenced under the Speedy Trial Act is excluded
23   during the time period of July 29, 2013, through and including September 12, 2013, pursuant to 18 U.S.C.
24   §3161(h)(7)(A) and (B)(iv) and Local Code T4.
25
     Dated:          July 30, 2013
26
27                                                                                Troy L. Nunley
                                                                                  United States District Judge
28                                                           2                             US v. Mistler, et al., 13-165 TLN
